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                                                                                November 21, 2023
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 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Nusrat J. Choudhury, U.S.D.J.
 100 Federal Plaza, Courtroom 1040
 Central Islip, New York 11722

          Re:       Bullion Shark, LLC v. Flip a Coin Bullion LLC, et al.
                    Case No.: 2:23-cv-6529 (NJC) (ARL)       __________

 Dear Judge Choudhury:

        This firm represents Plaintiff, Bullion Shark, LLC (“Plaintiff” or “Bullion Shark”), in the
 above-referenced case. Plaintiff submits this letter response in opposition to Defendants’ second
 motion to adjourn the virtual hearing scheduled today at 4:00 PM. While Defendant Joseph
 Forman (“Joseph”) may be justifiably excused, the remaining three (3) Defendants should not be.

         Plaintiff remains prepared to address the defenses raised by Defendants in their opposition
 papers at the hearing today – whether Defendants choose to appear or not – and again vehemently
 objects to any continuance whatsoever based on the nature of this emergency application. This
 Court has already accommodated the Defendants by permitting the hearing to proceed with
 Defendants appearing virtually through Zoom. Defendants’ eleventh-hour request three (3) hours
 prior to the hearing (despite the admission that Joseph was admitted to the hospital yesterday)
 screams of delay tactics designed to avoid justice despite Defendants’ being placed on notice of
 this case since August 31, 2023. It also shows their ability to take an arm after being given a hand.

        To the extent that this Court is inclined to grant Defendants’ request to adjourn the
 conference, Plaintiff respectfully reiterates its request that a temporary restraining Order be issued,
 as requested, until such time that Defendants appear by counsel, as required, and a hearing is
 conducted, which should be conducted in person. Indeed, if the Defendants must each attend to
 Joseph such that they cannot appear at this hearing, then they should not have any time to continue
 conducting business built on the stolen trade secrets from Bullion Shark.

          Plaintiff thanks this Court for its time and attention to this case, and wishes Joseph well.

 Dated: Lake Success, New York
        November 21, 2023                             Respectfully submitted,
                                                             /s/
                                                      Kyle F. Monaghan, Esq.

 cc: Defendants – via email only.
